

People v Yeoman (2025 NY Slip Op 02479)





People v Yeoman


2025 NY Slip Op 02479


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, SMITH, DELCONTE, AND HANNAH, JJ.


257 KA 23-01698

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCURTIS W. YEOMAN, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






HAYDEN M. DADD, CONFLICT DEFENDER, GENESEO (BRADLEY E. KEEM OF COUNSEL), FOR DEFENDANT-APPELLANT.
GREGORY J. MCCAFFREY, DISTRICT ATTORNEY, GENESEO (JOSHUA J. TONRA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Livingston County Court (Kevin Van Allen, J.), rendered August 15, 2023. The judgment convicted defendant upon his plea of guilty of criminal possession of a controlled substance in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Yeoman ([appeal No. 1] — AD3d — [Apr. 25, 2025] [4th Dept 2025]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








